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                            UNITED STATES BANKRUPTCY COURT
                             WESTERN DISTRICT OF MISSOURI


  In re:                                           )   Case No. 21-40834-DRD
                                                   )   Chapter 11
  INTERSTATE UNDERGROUND                           )
  WAREHOUSE AND INDUSTRIAL                         )
  PARK, INC.                                       )
                                                   )
                  Debtor.                          )




                       DEBTOR’S MOTION FOR
          ENTRY OF INTERIM AND FINAL ORDERS DETERMINING
     ADEQUATE ASSURANCE OF PAYMENT FOR FUTURE UTILITY SERVICES

                Interstate Underground Warehouse and Industrial Park, Inc. as debtor and debtor in

 possession in the above-captioned case (the “Debtor” or “IUW”) respectfully states as follows in

 support of this motion (this “Motion”):

                                           Relief Requested

                1.      By this Motion, the Debtor seeks entry of interim and final orders

 (the “Proposed Orders”), pursuant to sections 105(a) and 366 of title 11 of the United States Code

 (the “Bankruptcy Code”), rule 6003 and 6004 of the Federal Rules of Bankruptcy Procedure

 (the “Bankruptcy Rules”), (a) determining that the proposed Adequate Assurance (as defined

 herein) provides the Utility Providers (as defined herein) with adequate assurance of payment

 within the meaning of section 366 of the Bankruptcy Code, (b) prohibiting the Utility Providers

 from altering, refusing, or discontinuing services, and (c) granting related relief.

                                       Jurisdiction and Venue

                2.      This Court has jurisdiction to consider this matter pursuant to 28 U.S.C.

 §§157 and 1334. This matter is a core proceeding pursuant to 28 U.S.C. §157(b).
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                  3.       The statutory and legal predicates for the relief requested herein are sections

 105(a) and 366 of the Bankruptcy Code and Bankruptcy Rule 6003 and 6004.

                                                   Background

                  4.       On July 1, 2021 (the “Petition Date”), the Debtor filed a voluntary petition

 for relief under chapter 11 of the Bankruptcy Code. The Debtor operates a network of underground

 storage facilities within a single location in Kansas City, Missouri. IUW houses approximately 3

 million square feet of dry storage, 250,000 square feet of cooler space, and 500,000 square feet of

 freezer space for the storage of a variety of customer goods.

                  5.       The Debtor is operating its business and managing its properties as a debtor

 in possession pursuant to Bankruptcy Code sections 1107(a) and 1108.                   No trustee, examiner, or

 official committee has been appointed in this chapter 11 case.

                  6.       A comprehensive description of the Debtor’s operations and events leading

 to the commencement of this Chapter 11 case is set forth in the Declaration of Leslie Reeder,

 the (“First Day Declaration”),1 filed contemporaneously herewith and incorporated herein by

 reference.

                  The Utility Services and Utility Providers

                  7.       In the ordinary course of business, the Debtor obtains electricity,

 telecommunications, water, waste management (including sewer and trash), and other similar

 services (collectively, the “Utility Services”) from various utility providers (the “Utility

 Providers”). A list of the Utility Providers that provide Utility Services to the Debtor as of the

 Petition Date is attached hereto as Exhibit A (the “Utility Service List”).



 1
     The First Day Declaration is being filed in support of this Motion and is incorporated herein by reference.
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the First Day
     Declaration.


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                8.      While there is seasonal fluctuation, the Debtor has historically spent, on

 average, approximately $60,000.00 per month on Utility Services. Accordingly, the Debtor

 estimates that the cost for Utility Services during the next thirty (30) days (not including any

 deposits to be paid or any unpaid prepetition amounts that have been invoiced) will be

 approximately $60,000.00. Upon information and belief, as of the Petition Date, no amounts

 remain outstanding to any of the Utility Providers.

 A.      Proposed Adequate Assurance Deposit and Procedures

                9.      The Debtor intends to timely pay all post-petition obligations owed to the

 Utility Providers in the ordinary course of business. To provide additional assurance of payment,

 the Debtor will provide the Utility Providers adequate assurance of payment within the meaning

 of section 366 of the Bankruptcy Code (“Adequate Assurance”). This Adequate Assurance will

 be equal to one month of the Debtor’s estimated monthly cost of the Utility Services, calculated

 as a historical average over the past twelve (12) months, less any deposit already held by a Utility

 Provider; provided, however, that such deposits may be adjusted by the Debtor to account for the

 termination or discontinuance of any of the Utility Services.

                10.     The Adequate Assurance may be applied to any post-petition defaults in

 payment to the Utility Providers. The Debtor submits that the Adequate Assurance, in conjunction

 with the Debtor’s anticipated liquidity during this chapter 11 case, demonstrates its ability to pay

 for future Utility Services in accordance with prepetition practice and constitutes sufficient

 Adequate Assurance to the Utility Providers in full satisfaction of section 366 of the Bankruptcy

 Code.

                11.     In the event that a Utility Provider believes that additional assurance is

 required, the Debtor requests that such Utility Provider contact proposed counsel to the Debtor,



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 Armstrong Teasdale LLP, 2345 Grand Blvd., Suite 1500, Kansas City, MO 64108 Attention:

 [Pamela Putnam., Esq.] and (B) Armstrong Teasdale LLP, 7700 Forsyth Boulevard, Suite 1800,

 St. Louis, Missouri 63105, Attention: [Richard W. Engel, Jr., Esq.] and [Erin M. Edelman, Esq..]

 in an effort to amicably discuss and resolve, before filing an objection with the Court.

                                     Basis for Relief Requested

                12.     Section 366 of the Bankruptcy Code protects a debtor against the immediate

 termination, discontinuance, or alteration of utility services after the Petition Date. See 11 U.S.C.

 § 366. Furthermore, section 366(c) of the Bankruptcy Code requires a debtor to provide “adequate

 assurance” of payment for postpetition utility services in a form “satisfactory” to a utility provider

 within 30 days of the petition, or the utility provider may alter, refuse, or discontinue service. 11

 U.S.C. § 366(c)(2).

                13.     Section 366(c)(1)(A) of the Bankruptcy Code provides a non-exhaustive list

 of examples of what constitutes “assurance of payment.” 11 U.S.C. § 366(c)(1)(A). Although

 assurance of payment must be “adequate,” it need not constitute an absolute guarantee of the

 debtor’s ability to pay. See, e.g., Entergy New Orleans, Inc. v. Cont’l Common, Inc. (In re Cont’l

 Common, Inc.), No. 3:10-CV-2591-O, 2011 WL 13238210, at *6 (N.D. Tex. Feb. 14, 2011). When

 considering whether a given assurance of payment is “adequate,” a court should examine the

 totality of the circumstances to make an informed decision as to whether a utility provider will be

 subject to an unreasonable risk of nonpayment. See, e.g., Mass. Elec. Co. v. Keydata Corp. (In re

 Keydata Corp.), 12 B.R. 156, 158 (B.A.P. 1st Cir. 1981) (citing In re Cunha, 1 B.R. 330

 (Bankr. E.D. Va. 1979)); In re Adelphia Bus. Solutions, Inc., 280 B.R. 63, 82–83 (Bankr. S.D.N.Y.

 2002). In determining the level of adequate assurance, however, “a bankruptcy court must focus

 upon the need of the utility for assurance, and . . . require that the debtor supply no more than that,



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 since the debtor almost perforce has a conflicting need to conserve scarce financial resources.”

 Va. Elec. & Power Co. v. Caldor, Inc., 117 F.3d 646, 650 (2d Cir. 1997) (internal quotations and

 emphasis omitted) (citing In re Penn Jersey Corp., 72 B.R. 981, 985 (Bankr. E.D. Pa. 1987)).

                  14.    Here, the Adequate Assurance procedures described herein adequately

 assure the Utility Providers against any risk of nonpayment for future Utility Services. Moreover,

 termination of the Utility Services could result in the Debtor’s inability to operate their businesses

 to the detriment of all stakeholders. See In re Monroe Well Serv., Inc., 83 B.R. 317, 321–22

 (Bankr. E.D. Pa. 1988) (noting that without utility service, Debtor “would have to cease

 operations” and that section 366 “was intended to limit the leverage held by utility companies, not

 increase it”).

                  15.   Furthermore, section 105(a) of the Bankruptcy Code authorizes the

 requested relief. Section 105(a) of the Bankruptcy Code allows the Court to “issue any order,

 process, or judgment that is necessary or appropriate to carry out the provisions of [the Bankruptcy

 Code.]” 11 U.S.C. § 105(a). It permits a bankruptcy court to take whatever action “is appropriate

 or necessary in aid of the exercise of its jurisdiction.” 2 COLLIER ON BANKRUPTCY ¶ 105.01.

                  16.   The Debtor submits that the circumstances of this chapter 11 case warrant

 granting the requested relief, and that doing so is in the best interests of all parties. The Debtor

 has an excellent payment history with the Utility Providers, and the requested relief will help the

 Debtor to successfully reorganize and thus fulfill the purposes of section 105 of the Bankruptcy

 Code and will not prejudice the rights of the Utility Providers under section 366.

                    The Requirements of Bankruptcy Rule 6003 Are Satisfied

                  17.   The Debtor seeks immediate authorization for the relief requested in this

 Motion. Pursuant to Bankruptcy Rule 6003(b), a bankruptcy court cannot grant “a motion to use,



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 sell, lease, or otherwise incur an obligation regarding property of the estate, including a motion to

 pay all or part of a claim that arose before the filing of the petition” within the first twenty-one

 (21) days after the petition date unless the relief is “necessary to avoid immediate and irreparable

 harm.” Fed. R. Bankr. P. 6003(b). For the reasons set forth herein, Rule 6003(b) has been satisfied.

                        Waiver of Bankruptcy Rule 6004(a) and 6004(h)

                 18.    By this Motion, the Debtor requests that the Court enter an order providing

 that notice of the relief requested herein satisfies Bankruptcy Rule 6004(a) and that the Debtor has

 established cause for a waiver of any stay of the effectiveness of the order approving this Motion

 under Bankruptcy Rule 6004(h). For the reasons set forth herein and in the First Day Declaration,

 the Debtor submits that notice of the relief requested herein is appropriate under the circumstances

 and that ample cause exists to justify a waiver of the fourteen (14) day stay imposed by Bankruptcy

 Rule 6004(h).




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                WHEREFORE, the Debtor respectfully requests entry of the Proposed Orders,

 granting the relief requested herein and such other relief as is just and proper.

  Dated:   July 2, 2021               Respectfully submitted,
           Kansas City, Missouri      ARMSTRONG TEASDALE LLP

                                       /s/ Pamela Putnam
                                      Pamela Putnam, MO 61158
                                      2345 Grand Blvd. Suite 1500
                                      Kansas City, MO 64108
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                                      - and -

                                      Richard W. Engel, Jr., MO 34641
                                      Erin M. Edelman, MO 67374 (pro hac vice motion pending)
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                                      St. Louis, Missouri 63105
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                                      Proposed Counsel to the Debtor




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                                          EXHIBIT A

                                    Utility Service List


                      Name                   Address
                      Evergy                 PO Box 219330
                                             Kansas City, MO 64121
                      KC Water               PO Box 807045
                                             Kansas City, MO 64180
                      Avid                   PO Box 414800
                      Communications         Kansas City, MO 64141
                      Sprint                 PO Box 4181
                                             Carol Stream, IL 60197-4181
                      Hook N Haul            704 Harrington St.
                      Dumpsters              Dearborn, MO 64439
                      Republic Services      PO Box 9001099
                                             Louisville, KY 40290-1099
